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                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                :
 CORNEL WEST AND MELINA                         :   No. 2:24-cv-01349
 ABDULLAH, GERALDINE                            :
 TUNSTALLE, KATHERINE HOPKINS-                  :   (filed electronically)
 BOT, AND CHARLES HIER,                         :
                                                :
                            Plaintiffs,         :
                                                :
              v.                                :
                                                :
 PENNSYLVANIA DEPARTMENT OF                     :
 STATE AND AL SCHMIDT, IN HIS                   :
 CAPACITY AS SECRETARY OF THE                   :
 COMMONWEALTH,                                  :
                                                :
                            Defendants.


PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
                      STATUS UPDATE

      Plaintiffs Cornel West, Melina Abdullah, Geraldine Tunstalle, Katherine

Hopkins-Bot, and Charles Hier, hereby request an extension of time to December 13,

2024 to file a status report regarding their intent to proceed with the litigation. The

grounds for this Motion are set forth in the accompanying Memorandum of Law

attached hereto.

      WHEREFORE, Plaintiffs respectfully ask this Court to grant this Motion and

grant Plaintiffs an extension until December 13, 2024 to file a status report about

their intent to proceed with this litigation.




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                                  Respectfully submitted,

Dated: December 11, 2024          /s/ Matthew H. Haverstick
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                                  Samantha G. Zimmer (No. 325650)
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                           CERTIFICATE OF SERVICE

      I, Matthew H. Haverstick, hereby certify that on December 11, 2024, I caused

a true and correct copy of the foregoing Unopposed Motion for Extension of Time to

File Status Update, to be served on the following via the Court’s electronic filing

system:


                                    Jacob B. Boyer
                                   Stephen Kovatis
                              Deputy General Counsel
                              Office of General Counsel
                            333 Market Street, 17th Floor
                                Harrisburg, PA 17101
                                    (717) 460-6786

                               Attorney for Defendants




Dated: December 11, 2024                              /s/ Matthew H. Haverstick




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